Case 23-40709   Doc 70-36 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
                      JJ - Dec. 16 2023 Email Page 1 of 2




                           Exhibit JJ
      Case 23-40709        Doc 70-36 Filed 01/16/24 Entered 01/16/24 13:03:39                    Desc Exhibit
                                 JJ - Dec. 16 2023 Email Page 2 of 2
AttyLeahy@outlook.com

From:                            Lolonyon Akouete <info@smartinvestorsllc.com>
Sent:                            Saturday, December 16, 2023 8:22 AM
To:                              Iris Leahy
Subject:                         Please pass on this urgent message to the town of Westborough
Attachments:                     gov.uscourts.mab.511599.56.0.pdf; Filed Affidavit of Lolonyon Akouete and Exibit A.pdf


Attorney Leahy,

Could you please pass on this communication to the Town of Westborough?
The trustee has sent a detailed proposal to Attorney Smerage, who represents the Town of Westborough,
regarding the sale of the property under Bankruptcy Code Section 363. The proposal allows a sale to
Ferris or any higher bidder and has been reviewed by the Select Board. However, they need more time to
decide and have requested to postpone the hearing on the Motion for Relief from Stay until early
February.

It is not uncommon for the Select Board to need additional time to review and consider such proposals,
especially when they involve complex legal and financial decisions. However, due to the unique
circumstances surrounding this case, it is requested that the Select Board hold an emergency meeting
and involve all necessary parties to make a decision. This will prevent the hearing on the Motion for Relief
from Stay from being continued.

If the hearing is continued, the Town of Westboro should expect another lawsuit after the sale of the
property. I intend to bring a case for malicious prosecution and abuse of process against the town. This is
not a threat but an honest communication of intentions.

The town can avoid this situation by being responsible and quickly resolving the matter instead of
dragging it out further.

I do not wish to postpone the hearing scheduled for Thursday, December 21, 2023. The case has been
ongoing for more than a year without reason.


Thank you,

Lolonyon Akouete
Manager of Westborough SPE, LLC
1241 Deer Park Ave., Suite 1, #1051
North Babylon, NY 11703
info@smartinvestorslic.com
(443) 447-3276




                                                          1
